                                Case 2:16-cv-05644-TJH-PLA Document 39 Filed 04/25/18 Page 1 of 3 Page ID #:165



                                1   KAZEROUNI LAW GROUP, APC
                                    Abbas Kazerounian, Esq. (SBN: 249203)
                                2   ak@kazlg.com
                                3
                                    Mona Amini, Esq. (SBN: 296829)
                                    mona@kazlg.com
                                4   245 Fischer Avenue, Unit D1
                                    Costa Mesa, CA 92626
                                5   Telephone: (800) 400-6808
                                    Facsimile: (800) 520-5523
                                6
                                7   HYDE & SWIGART
                                    Joshua B. Swigart, Esq. (SBN: 225557)
                                8   josh@westcoastlitigation.com
                                    2221 Camino Del Rio South, Suite 101
                                9   San Diego, California 92108
                               10   Telephone: (619) 233-7770
                                    Facsimile: (619) 297-1022
                               11
                                    Attorneys for Plaintiff,
                               12   Khalid Zubair
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1
   COSTA MESA, CA 92626




                               13                       UNITED STATES DISTRICT COURT
                               14                      CENTRAL DISTRICT OF CALIFORNIA

                               15   KHALID ZUBAIR,                          Case No.: 2:16-CV-005644-TJH-PLA
                               16
                               17                  Plaintiff,               JOINT STIPULATION TO DISMISS
                                                                            ACTION WITH PREJUDICE
                               18                      v.
                               19   ZEE LAW GROUP, PC; AND
                                    COLLECT ACCESS, LLC,
                               20
                               21
                                                   Defendants.
                               22
                               23

                               24   //
                               25   //
                               26   //
                               27   //
                               28


                                    JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE               PAGE 1 OF 2
                                Case 2:16-cv-05644-TJH-PLA Document 39 Filed 04/25/18 Page 2 of 3 Page ID #:166



                                1         NOW COME THE PARTIES, by and through their attorneys of record, to
                                2   respectfully move this Honorable Court to dismiss the above-captioned action in its
                                3   entirety WITH PREJUDICE pursuant to Federal Rule of Civil Procedure
                                4   41(a)(1)(A)(ii). Each party shall bear its own costs and attorneys’ fees. A proposed
                                5   order has been attached hereto and lodged with the Court via ECF.
                                6
                                7   Dated: April 25, 2018                         KAZEROUNI LAW GROUP, APC
                                8
                                                                               By: /s/ Mona Amini
                                9                                                       Abbas Kazerounian, Esq.
                                                                                        Mona Amini, Esq.
                               10
                                                                                        Attorneys for Plaintiff
                               11
                               12   Dated: April 25, 2018                         CNT LAW GROUP
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1
   COSTA MESA, CA 92626




                               13
                                                                               By: /s/ Jeffrey Bao
                               14                                                        Cindy Tran, Esq.
                                                                                         Jeffrey Bao, Esq.
                               15                                                        Attorney for Defendants
                                                                                         Zee Law Group and
                               16                                                        Collect Access, LLC
                               17
                               18                                   CERTIFICATION

                               19         Pursuant to Section 2(f)(4) of the Electronic Filing Administrative Policies

                               20   and Procedures Manual, I hereby certify that the content of this document is

                               21   acceptable to Mr. Bao, counsel for Defendant, and that I have obtained his

                               22   authorization to affix his electronic signature to this document.

                               23

                               24   Dated: April 25, 2018                         KAZEROUNI LAW GROUP, APC

                               25                                              By: /s/ Mona Amini
                               26                                                       Mona Amini, Esq.
                                                                                        Attorneys for Plaintiff
                               27

                               28


                                    JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE                       PAGE 2 OF 2
                                Case 2:16-cv-05644-TJH-PLA Document 39 Filed 04/25/18 Page 3 of 3 Page ID #:167


                                                                  PROOF OF SERVICE
                                1
                                2         I am a resident of the State of California, over the age of eighteen years, and
                                3
                                    not a party to the within action. My business address is Kazerouni Law Group,
                                    APC, 245 Fischer Avenue, Unit D1, Costa Mesa, California 92626. On April 25,
                                4
                                    2018, I served the within document(s):
                                5
                                6         JOINT STIPULATION TO DISMISS ACTION WITH PREJUDICE
                                          AND [PROPOSED] ORDER
                                7
                                8
                                         S       CM/ECF - by transmitting electronically the document(s) listed
                                9                above to the electronic case filing system on this date before
                               10                11:59 p.m. The Court’s CM/ECF system sends an e-mail notification
                               11                of the filing to the parties and counsel of record who are registered
                                                 with the Court’s CM/ECF system.
                               12
KAZEROUNI LAW GROUP, APC
 245 FISCHER AVENUE, UNIT D1
   COSTA MESA, CA 92626




                               13          I declare under penalty of perjury under the laws of the State of California
                               14   that the above is true and correct. Executed on April 25, 2018, at Costa Mesa,
                                    California.
                               15
                               16                                                   /s/ Mona Amini              _______
                               17                                                       MONA AMINI, ESQ.
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                                    PROOF OF SERVICE
